Case No. 1:20-cr-00305-DDD      Document 458      filed 03/14/24   USDC Colorado      pg 1
                                        of 54




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Case No. 20-cr-00305-DDD

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

      1. MICHAEL AARON TEW and
      2. KIMBERLEY ANN TEW,
         a/ka Kimberley Vertanen,

        Defendants.


         STATEMENT REGARDING SENTENCING OF MICHAEL TEW


        Michael Tew committed fraud practically every day for almost two years. On

 each of the 701 days between the start of the conspiracy on August 7, 2018, and his

 arrest on July 8, 2020, he woke up with the opportunity to use his substantial

 financial and personal resources to earn money the way everyone else has to: honestly

 and through hard work. Instead, for 701 days, Michael Tew woke up and thought

 about how he would lie to his former coworkers, cheat his way out of getting caught,

 and steal from those who trusted him. On a near-weekly basis he earned more

 through fraud than many people do in an entire year of honest labor, committing in

 just one week the kind of five-figure fraud that would, by itself, lead to a substantial

 period of imprisonment in any jurisdiction in the country. Michael Tew persisted even



                                            1
Case No. 1:20-cr-00305-DDD     Document 458     filed 03/14/24   USDC Colorado     pg 2
                                       of 54




 after his former friend and coconspirator warned him that what they were doing

 would yield “straight jail time.” ECF No. 341-1 (Entry # 97). He did this despite the

 fact that the crime was causing that same friend visible distress. Id. He did this

 despite knowing that the high risks of getting caught would impose enormous

 hardship on his family. And he didn’t care. He kept stealing, ruthlessly and without

 any apparent remorse or consideration.

       Michael Tew deserves exactly the kind of sentence that the Sentencing

 Commission has concluded should be imposed on all others in a similar position. The

 government recommends that the Court impose a within-guidelines sentence of 139

 months; the maximum available term of supervised release of 3 years; and a fine of

 $250,000 (the “Recommended Sentence”).

 I.    MICHAEL AND KIMBERLEY TEW COMMITTED WIRE FRAUD AND
       THEN USED THE BANKING SYSTEM TO HANDLE ITS PROCEEDS,
       ALL WHILE REFUSING TO PAY TAXES1

       Evidence at trial showed that Michael Tew, Kimberley Tew, and Jonathan



       1 This statement of facts is repeated without change in the sentencing
 statements for both Michael and Kimberley Tew. The court has already found by a
 preponderance of the evidence that many of the statements in the government’s
 James proffer, ECF No. 341-1, were in furtherance of the charged conspiracy. ECF
 No. 361. That is sufficient for the Court to rely on those statements for purposes of
 making findings relevant to sentencing. Because the James log is easily searchable
 and accessible on the docket and because only some of those statements were
 admitted at trial even though those and others are relevant for sentencing, the
 government cites here to the James log when describing defendant statements and
 incorporates both the James Proffer, ECF No. 341, and the statements found to be in
 furtherance in the log, ECF No. 341-1, by reference. Other citations are to admitted
 government exhibits.

                                          2
Case No. 1:20-cr-00305-DDD    Document 458      filed 03/14/24   USDC Colorado      pg 3
                                      of 54




 Yioulos engaged in a complex scheme to defraud a Florida-based company, N.A.C.,

 Inc. (“the Victim Company”) of more than $5 million through the submission of

 fraudulent invoices billing the Victim Company for services never rendered. Their

 conspiracy began in August 2018 and ended only after the intervention of federal law

 enforcement in July 2020. [Testimony of Jonathan Yioulos; GX 1002,1003, and 1008]

       Michael Tew and Kimberley Tew — sometimes borrowing the identities of their

 friends, their associates, and those friends’ and associates’ companies — submitted

 these invoices on behalf of what appeared to be six different entities. They

 calculatingly adjusted the amounts demanded by each invoice based on the Victim

 Company’s resources at any given moment. [Testimony of Jonathan Yioulos]. As the

 Victim Company paid these invoices, Michael and Kimberley Tew engaged in

 multiple financial transactions through multiple financial institutions in amounts

 greater than $10,000 from money they knew to be the proceeds of wire fraud. [GX

 1009 – 1023].1

       Michael Tew was convicted by a jury of failing to file taxes. But both he and

 Kimberley Tew had previously filed tax returns and each was therefore aware of their

 obligation to file tax returns. Neither did so between 2018 and 2019. [GX 110-112]

 Instead, each took affirmative steps to evade or defeat assessment and payment of

 their taxes.


       1 These exhibits were not admitted at trial, but were shown to the jury as

 summaries. They reference the underlying exhibits that were admitted at trial and
 are the handiest reference.

                                          3
Case No. 1:20-cr-00305-DDD     Document 458     filed 03/14/24   USDC Colorado     pg 4
                                       of 54




       A.     The Individuals and Entities Involved

              1.    Michael Aaron Tew

       Michael Tew is a resident of the State of Colorado. He has a master’s degree in

 business administration from New York University and has held roles in finance, to

 include serving as Chief Financial Officer (CFO) for private companies, including the

 Victim Company. As part of this scheme, he submitted fraudulent invoices from

 Colorado to the Victim Company, communicated and coordinated with his

 coconspirators Kimberley Tew and Jonathan Yioulos in and from Colorado, and

 engaged in financial transactions largely in Colorado with the proceeds of the fraud.

 [Testimony of C.A., Testimony of B.P., A.S., Jonathan Yioulos, Lisa Palmer and

 Roman Hernandez, GX 535, 571-576, 974, 975]

       He also recruited others into the scheme, both witting and unwitting. He

 recruited Jonathan Yioulos to knowingly agree to be part of the fraud. But he also

 used his friend, L.W., to help him. [Testimony of Jonathan Yioulos; GX 975]. Michael

 Tew used interstate wires to submit these fraudulent invoices by electronic mail to

 the Victim Company, and he engaged in financial transactions that were executed

 through the use of interstate wires. [Testimony of M.O.]. The defendant personally

 benefitted from the scheme to defraud, setting up multiple bank accounts at several

 different institutions to take custody of scheme proceeds and sometimes using third

 parties to receive fraud money in their bank accounts. [GX 312, 363, 975, 1001]. At

 all times during the conspiracy, he was married and remains married to coconspirator


                                          4
Case No. 1:20-cr-00305-DDD      Document 458      filed 03/14/24   USDC Colorado       pg 5
                                        of 54




 Kimberley Tew.

       He did not pay taxes on either his legitimate or illegitimate income. [Testimony

 of Roman Hernandez, GX 101 – 112]

              2.     Jonathan Yioulos

       Jonathan Yioulos is a resident of the State of New York and was, at some prior

 to 2018, the Director of Finance for the Victim Company. Sometime between 2018

 and July 2020, Yioulos became the Victim Company’s controller while continuing to

 perform his responsibilities as Director of Finance. Michael and Kimberley Tew

 recruited Yioulos to be a part of their fraud scheme by leveraging Michael Tew’s

 friendship and by promising to pay him bitcoin.

       Once Yioulos had agreed to start giving the Tews money based on fraudulent

 invoices, they kept him involved in the conspiracy through a combination of

 emotionally manipulative techniques, best summarized in one of Michael Tew’s texts

 to Kimberley: “I’m trying being nice I’m trying being mean I’m trying to threaten I’m

 trying to help him I’m trying to play ball I’m trying every method and he is not

 responding.” ECF No. 341-1 (Log Entry #341); see also id. (Log Entry 347 (“I have to

 threaten hi” [sic]). As shown at trial, Michael and Kimberley Tew maintained

 Yioulos’s involvement in a two-year criminal enterprise by making appeals to

 friendship — offering Yioulos bitcoin, ECF No. 341-1 (all entries in furtherance

 referencing Indictment ¶ 25); other things of value like football tickets, Id. (Log Entry

 # 317); and payments for his student loans and mortgage, Id. (Entries # 130 & 131).


                                            5
Case No. 1:20-cr-00305-DDD      Document 458      filed 03/14/24   USDC Colorado      pg 6
                                        of 54




 When that wouldn’t work, they preyed on his fears and anxieties — threatening to

 take action that would cause Yioulos to lose his accounting license, Id. (Log Entry #

 59); to adversely affect Yioulos’s marriage and then divorce proceedings, Id. (Log

 Entry # 265); and to trick Yioulos into believing that, if stopped sending money, others

 would call the Victim Company and have Yioulos fired. Id. (Log Entry# 650).

 [Testimony of Jonathan Yioulos; Testimony of Lisa Palmer].

       Yioulos benefited financially from the conspiracy, but only on the terms and

 conditions dictated by Michael and Kimberley Tew, and at a much lower level. The

 Tews ultimately got over $5 million, whereas Yioulos got around $100,000. The

 Victim Company fired Yioulos on July 7, 2020, after his involvement in the conspiracy

 was uncovered by a combination of another employee and law enforcement.

 [Testimony of Jonathan Yioulos; Testimony of A.S., Testimony of C.A.; Testimony of

 Sarah Anderson; Testimony of Lisa Palmer].

              3.     Kimberley Tew

       Kimberley Tew is a resident of Colorado who conspired with Michael Tew and

 Jonathan Yioulos to execute this scheme to defraud her husband’s former employer.

 Kimberley Tew pushed the fraud forward by directing Michael Tew to ask Jonathan

 Yioulos for payments. She used those funds to stake her gambling wagers, to

 subsidize a separate cryptocurrency investment scam that she ran in parallel with

 the charged fraud, and to support her opulent lifestyle. [Testimony of Jonathan

 Yioulos; GX 974 and 975].


                                            6
Case No. 1:20-cr-00305-DDD     Document 458      filed 03/14/24   USDC Colorado      pg 7
                                       of 54




       She represented to others that she graduated from Fordham University in New

 York and that she had previously held jobs at Google. [Testimony of C.A.; Testimony

 of M.M.]. She used tactics similar to Michael Tew’s to keep Yioulos involved. “Play

 into greed,” she once encouraged Michael. ECF No. 341-1 (Log Entry # 130). On

 another occasion she suggested that Yiolous was a “kid” who could be manipulated

 with “something small” and then worked with Michael to offer Yioulos concert tickets

 or sports tickets. Id. (Log Entry # 317). Lurking behind it all was her ruthless

 willingness to exploit others’ fears and weaknesses. Id. (Entries #59, 117, 118, 265,

 317). Kimberley Tew also tried to recruit others to participate in the fraud, including

 H.S. and M.M.. [Testimony of H.S.; Testimony of M.M.]

              4.     The Victim Company

       The Victim Company was headquartered in Florida with an office in Buffalo,

 New York. The Victim Company operated in the United States and around the world.

 Its subsidiaries included N.A.C. Group, Inc., d/b/a N.A., which operates as an airline,

 and provides freight forwarding solutions. N.A.C. Holdings, Inc. (“NAC Holdings”)

 was one of several affiliates of the Victim Company. C.A., the owner of the Victim

 Company, testified at trial to the immense hardships imposed by the fraud, which

 created cash shortages that strained the company’s reputation with vendors and

 caused enormous stress on its staff. At times, there were concerns the company

 wouldn’t even be able to make payroll. [Testimony of C.A.; Testimony of Jonathan

 Yioulos]. These hardships were corroborated in contemporaneous statements among


                                           7
Case No. 1:20-cr-00305-DDD     Document 458      filed 03/14/24   USDC Colorado      pg 8
                                       of 54




 the conspirators. ECF No. 341-1 (Entries # 84, 85, 156, 186-188, 194, 196). C.A. also

 testified that he placed a tremendous amount of professional and personal trust in

 Michael Tew before the Tews betrayed him and the company and Michael Tew was

 fired in September 2018.

              5.    Sand Hill, LLC (“Sand Hill”)

       In February 2012, Michael Tew incorporated Sand Hill in New York. Sand Hill

 was a single-member LLC with Michael Tew as its only member. In or around

 November 2018, Michael Tew registered Sand Hill as a foreign limited liability

 company in Colorado. He then opened accounts for Sand Hill at local bank branches

 in Colorado to further dissipate the fraud proceeds across several different financial

 institutions and accounts. During the course of this fraud, in an effort to defeat

 detection, Michael Tew and Jonathan Yioulos agreed to abbreviate Sand Hill, Inc.as

 “SHI LLC” on records used by NAC’s accounting team in order to create the false

 impression of another entity. [Testimony of Jonathan Yioulos; Testimony of B.P.,

 Testimony of R.T.]; ECF No. 341-1 (Log Entries # 54, 55, 61, 199, 207, 208, 217).

              6.    Sham Vendors associated with the Tews’ friends and
                    partners: HS CPA, MCG, Inc., 5530 JD and PM

       HS CPA; MCG, Inc.; 5530 JD, and PM were all entities affiliated or purportedly

 affiliated with former friends or associates of Michael and Kimberley Tew. Michael

 Tew had the connection with PM. Kimberley Tew had connections with H.S., M.M.

 and C.R., who were the supposed principals of HS CPA; MCG, Inc.; and 5530JD.

 Michael and Kimberley Tew submitted or caused to be submitted fraudulent invoices

                                           8
Case No. 1:20-cr-00305-DDD      Document 458      filed 03/14/24   USDC Colorado      pg 9
                                        of 54




 to the Victim Company for each of these four entities. [Testimony of H.S.; Testimony

 of M.M., Testimony of Jonathan Yioulos, Testimony of Lisa Palmer; GX 601, 603, 607,

 611, 629, 638, 642, 647, 649, 674, 680, 683, 684, 688, 692 700, 703, 706, 711, 716, 719,

 723, 727, 732, 737, 742, 748, 764, 801, 974, GX 975, 1002, 1003, 1004-1007, 10081].

       Kimberley Tew created a fake email account in the name of MCG, Inc., only

 slightly modifying the name of that company so that it would appear to be from M.M..

 [Testimony of Lisa Palmer, GX 524, 980-984]. Michael Tew created fake email

 accounts for C.R. and P.M. [Testimony of Lisa Palmer, GX 520, 521, 975]. These

 invoices were paid by the Victim Company. [Testimony of A.S., Testimony of

 Jonathan Yioulos, Testimony of Matt Morgan, GX 1002, 1003, 1004, 1005].

              7.     Global Fuel Logistics, Inc. (GFL)

       On or around July 9, 2019, Michael Tew created and registered GFL in

 Wyoming. [GX 546]. A couple of days later, on or about July 11, 2019, the defendant

 registered GFL in Colorado as a foreign corporation and, shortly thereafter, opened

 additional bank accounts for GFL at local bank branches in Colorado. [Testimony of

 Matt Morgan; Testimony of Lisa Palmer; Testimony of R.T.; GX 526, 975, 1001].

 Michael Tew created GFL to diversify the names of the entities submitting fraudulent

 invoices to the Victim Company and to align the name of the shell company more

 closely with the business of the Victim Company. These efforts assisted in evading


       1 Government Exhibits 1004-1007 were shown to the jury but not admitted.

 They reference the underlying exhibits and remain handy references for purposes of
 identifying bank transactions.

                                            9
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24      USDC Colorado      pg
                                    10 of 54




the Victim Company’s detection. [Testimony of Jonathan Yioulos, Testimony of A.S.].

The Victim Company paid invoices based on the fraudulent pretense that GFL was

one of its vendors. [Testimony of Jonathan Yioulos, Testimony of A.S., Testimony of

Matt Morgan, GX 539, 841, 844, 845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953,

954, 955, 959, 969, 1002, 1003, 1006].

      Michael Tew intentionally did not list the Colorado address he shared with

Kimberley Tew on the registration materials with the States of Colorado and

Wyoming. Instead, he chose to list an address in Michigan associated with Kimberley

Tew’s parents as the principal office address and mailing address. [Testimony of

R.T.]; ECF NO. 341-1 (Log Entry # 208). He did so to put multiple layers between

himself and GFL, which had no legitimate business operations and whose sole

function was to serve as a shell company nominee listed on invoices to the Victim

Company. GFL was never registered in Michigan. [GX 974, GX 975].

             8.    Aero Maintenance Resources (AMR)

      Michael Tew never registered AMR as a separate entity in any state. To serve

the defendant’s and the coconspirators’ goal of evading detection by diversifying the

names of the entities on the fraudulent invoices, the defendant, with the knowledge

and coordination of Kimberley Tew and Jonathan Yioulos, submitted invoices on

behalf of AMR. [Testimony of Jonathan Yioulos]. AMR was described on the

fraudulent invoices as a “division” of GFL. [Testimony of Jonathan Yioulos].




                                         10
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado      pg
                                    11 of 54




      B.     The Relationships between the Tews and the Victim Company

      Between sometime in 2015 and September 2018, the defendant served as the

contracted CFO for the Victim Company. As a contractor, he was paid approximately

$10,000 per month to, in later months, up to $25,000 per month pursuant to his

contracts with the Victim Company. [GX 535, 550, 571-576]. The Victim Company

paid for the defendant’s contracted CFO services through his single-member LLC,

Sand Hill. Kimberley Tew also provided limited contract services to the Victim

Company related to the creation of a virtual web application. [Testimony of C.A.,

Testimony of Jonathan Yioulos, GX 986].

      In June 2018, Michael Tew began to use an American Express corporate card

issued to him for work-related expenses to instead purchase gift cards at Target, King

Soopers, Walgreens, and other retailers. He did this at the request and

encouragement of Kimberley Tew, who needed the gift cards to pay off a debt. When

American Express and the Victim Company separately asked Michael Tew questions

about these expenses, the defendant lied to both entities. Michael Tew, in

coordination with Kimberley Tew, had purchased those gift cards because they could

be easily, and largely anonymously, sold for cryptocurrency such as bitcoin. The

defendant needed these funds because of family debts, some of which were the result

of Kimberley’s gambling and crypto-speculation. [Testimony of C.A., Testimony of

Jonathan Yioulos, Testimony of A.S., GX 335, 338, 339, 347 – 353, 532, 538]

      In or around September 15, 2018, the Victim Company terminated Michael


                                          11
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24      USDC Colorado      pg
                                    12 of 54




Tew’s contract for this unauthorized use of the corporate credit card and because

another individual to whom Kimberley owed a debt had called employees and owners

of the Victim Company to threaten and extort them. [Testimony of C.A., Testimony

of Jonathan Yioulos, Testimony of A.S., GX 536]; ECF No. 341-1 (Log Entries # 33,

36, 37, 50, 59, 85, 93, 108, 156). After September 15, 2018, the Victim Company did

not know it had engaged in any further business dealings with Michael or Kimberley

Tew. The Victim Company learned of the scheme to defraud in or around July 2020,

after it was contacted by the IRS and the FBI. [Testimony of C.A.; Testimony of Sarah

Anderson; Testimony of Lisa Palmer].

      C.     The Tews inflicted millions of dollars of loss on the Victim
             Company during a two year crime-spree

             1.    The Tews used adaptive invoicing techniques to make their
                   scheme more effective over time

      In or around August 2018, Michael Tew, at the encouragement and direction

of Kimberley Tew, began submitting fraudulent invoices to the Victim Company,

which the Victim Company paid. Initially, the dollar amounts for the invoices were

relatively small, but over time, the amounts demanded by each fraudulent invoice

grew substantially. Between August 2018 and July 2020, as a result of this conspiracy

to commit wire fraud, the Victim Company paid $5,053,878.50 either directly to the

defendant and Kimberley Tew or to third parties recruited by Michael and Kimberley

Tew. [GX 1002, 1003]

      The fraud was perpetrated to pay outstanding and ongoing debts incurred by


                                         12
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     13 of 54




Kimberley Tew’s gambling, to cover the redemptions of “investors” who were victims

of a separate cryptocurrency scheme, and to finance a lavish lifestyle that included a

luxury apartment in Cherry Creek, designer clothes, expensive food, and Las Vegas

junkets.

      Initially, the invoices were submitted by or on behalf of entities not previously

used as vendors by the Victim Company and who performed functions unrelated to

the conspiracy. Over time, the invoices were submitted by shell company nominees

that existed as vehicles to continue the fraud, to evade detection, and to conceal the

source and destination of income. When the amount paid to one sham vendor became

large enough to make its notice a higher audit risk, Michael and Kimberley would

pivot to a different vendor, spreading their fraud across multiple different entities so

that no single vendor would stand out. [Testimony of Jonathan Yioulos, GX 974, 975,

1002, 1003].

      The fraudulent invoices were all approved by Yioulos, and the payments were

largely made via automated clearinghouse (ACH) transactions, although some

payments were tendered by wire transfer. The ACH transactions were executed

through interstate wires from the Victim Company’s account at Signature Bank in

New York to bank accounts in Colorado and elsewhere. [Testimony of M.O.;

Testimony of Jonathan Yioulos; GX 9-40, 355-262, 365-367, 369-377, 379-380, 383-

384, 386-392, 428-468, 492; GX 1001 - 1007].

      Kimberley Tew directed Michael Tew to obtain money from the Victim


                                          13
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24      USDC Colorado      pg
                                    14 of 54




Company. Michael Tew, in turn, would advise Jonathan Yioulos to continue

authorizing invoices, or risk the Tews and their associates going to the Victim

Company’s management, something which would result in the termination of

Yioulos’s employment. Yioulos, who initially had a friendly relationship with Michael

Tew, agreed and continued to knowingly process fraudulent invoices submitted by or

for the benefit of the defendant and Kimberley Tew during the course of the

conspiracy. In exchange, the Tews also offered Yioulos a few bitcoin as compensation,

which Kimberley would supposedly invest on Yioulos’s behalf. Under this

arrangement, the bitcoin was transmitted by Michael or Kimberley to Yioulos, then

requested back, and then re-transmitted multiple times. Ultimately, Jonathan

Yioulos received a relatively small portion of the fraud proceeds: approximately

$100,000 worth of bitcoin, which he then converted into fiat currency. [Testimony of

Jonathan Yioulos; GX 527]; ECF No. 341-1 (all log entries found to be in furtherance

in which Kimberley requests money from Jon, all entries found to be in furtherance

referencing Indictment paragraph 25, all log entries describing texts between

Michael Tew and Jonathan Yioulos).

      At first, both Michael and Kimberley Tew contacted Yioulos to request or

demand money from the Victim Company. Later, Yioulos cut off contact with

Kimberley Tew because of her caustic tone and mercenary tactics. See, e.g., ECF No.,

241-1 (Log Entries # 115, 118); see also Id. (Log Entry # 197 (encouraging Michael

Tew to threaten Jonathan so that Kimberley can get money to pay redemptions of her


                                         14
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado       pg
                                    15 of 54




“investors”). From that time forward, Kimberley would tell Michael when she needed

money, direct him to ask Yioulos, and Michael would execute her instructions. [GX

974, 975].

      To accommodate these demands for payment, Yioulos often advised Michael

Tew about the financial status of the Victim Company and/or its affiliates so that

payments of the fraudulent invoices did not result in the Victim Company and/or its

affiliates overdrawing their bank accounts. Michael would then pass along this

information to Kimberley. See, e.g., ECF No. 341-1 (Log Entry # 156, 187, 194, 317)

Yioulos often made payments in installments or “progress payments.” That is, Yioulos

authorized and approved multiple ACH transfers or wire transfers where each

transfer was for an amount less than the total amount of an invoice to try to pay the

defendants with whatever money was available to the Victim Company or its

affiliates at that time. [Testimony of Jonathan Yioulos]; See, e.g., ECF No. 341-1 (Log

Entry # 348).

      Michael and Kimberley Tew accepted partial payments based on what the

Victim Company or its affiliates could afford at any given time during the conspiracy.

Many times partial payments were made by the Victim Company and its affiliates

prior to the receipt of an invoice to satisfy Michael Tew and/or Kimberley Tew’s

immediate demands for money. During the conspiracy, if Yioulos deferred or delayed

payment of the fraudulent invoices based on the financial status of the Victim

Company or its affiliates, Michael and Kimberley Tew pressured or threatened


                                          15
Case No. 1:20-cr-00305-DDD        Document 458 filed 03/14/24     USDC Colorado        pg
                                       16 of 54




Yioulos to induce him to pay the invoices. [Testimony of Jonathan Yioulos]; ECF No.

341-1 (Log Entry #341); see also id. (Log Entry 347 (“I have to threaten hi” [sic]).

      Over time, the conspirators used more sophisticated means to conceal the

fraud. For example, at the beginning of the scheme to defraud, the fraudulent invoices

contained generic descriptions of services like consulting services or “service fee[s]”

but over time, those descriptions grew more specific with later fraudulent invoices

bearing descriptions like “Trailing Edge Flap”; “Replacement of Moisture Barrier over

Kevlar (Labor Hours)”; and “A-330-200 (N819CA) Crew / Operations / Staff

Training[.]” [GX 845, 875, 969]

      Michael Tew, in coordination and consultation with Kimberley Tew and

Yioulos, also took steps to ensure that the face of each invoice would not arouse

suspicion at the Victim Company. Indicia of legitimacy on the fraudulent invoices

included the following:

          •   Unique, non-consecutive invoice numbers, which implied that invoices
              were being directed to other companies beyond the Victim Company or
              its affiliates;

          •   Naming an entity that was purportedly providing services, entities
              whose registration with various Secretaries of State could be confirmed,
              a description of services and, sometimes, a project name, as well as a
              due date;

          •   Identifying a sum certain, sometimes round numbers and other times
              specific numbers, that were associated with the purported provision of
              certain numbers of hours of service or work and which were sometimes
              reduced by “adjustments”;

          •   Identifying real bank account information for the entities, even if the


                                           16
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24        USDC Colorado       pg
                                     17 of 54




              entity was not in fact associated with that bank account; and

          •   Identifying a purported specific person, for example, “Jessica
              Thompson,” as a contact person in the “Accounting Department” for
              questions about the invoices. “Jessica Thompson” did not in fact exist.

[Testimony of Jonathan Yioulos, GX 539,601, 603, 607, 611, 629, 638, 642, 647, 649,

674, 680, 683, 684, 688, 692 700, 703, 706, 711, 716, 719, 723, 727, 732, 737, 742, 748,

764, 801, 841, 844, 845, 875, 887, 903, 912, 928, 933, 935, 950, 952, 953, 954, 955, 959,

969, 975].

              2.    The Tews’ used a shell company as another artifice to
                    deceive the Victim Company while insulating themselves
                    from detection

      Michael Tew took additional steps to evade detection by also creating and using

newly-formed shell entities to submit these fraudulent invoices. These new entities,

GFL and AMR, appeared to at least superficially engage in work that related to the

Victim Company’s industry, but in fact had no other operations beyond being used to

perpetrate this fraud. The defendant not only intentionally registered them in a

manner that would make it difficult to connect the entities to him Kimberley Tew, he

requested Employer Identification Numbers, [GX 545], created official-sounding new

email addresses, [GX 512], and otherwise attended to the business of perpetrating

this fraud, [GX 974, 975]. [Testimony of Jonathan Yioulos].




                                           17
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24      USDC Colorado      pg
                                    18 of 54




              3.   The Tews recruited third parties to assist in their criminal
                   endeavor and then, when those parties balked at such
                   brazen fraud, stole their identities to insulate themselves
                   from detection

      As set forth above, the fact that using the same vendor over and over again

would draw attention imposed an inherent constraint on the Tews’ ability to

perpetrate the fraud. Furthermore, Michael and Kimberley Tew were aware that

another risk of their criminal endeavor was that others might see their association

with a vendor. For the first few months of their scheme, the Tews tried to push the

risk of exposure away from themselves and towards third parties they felt they could

manipulate.

                   a.     Kimberley Tew’s Exploitation of H.S.’s addiction

      In August 2018 — just after Kimberley Tew had been caught using Michael

Tew’s corporate credit card to purchase gift cards — Kimberley pitched H.S. on an

opportunity make money with bitcoin. H.S. initially agreed to invest with Kimberley’s

bitcoin opportunity. But when Kimberley asked H.S. to open a bank account to receive

a large sum of money, H.S. turned Kimberley down. This didn’t stop Michael or

Kimberley from using H.S. to help advance their fraud: they simply adopted H.S.’s

name for use on some of their fake invoices, falsely stating that H.S. was a CPA

contracted by Michael Tew in his capacity as the Victim Company’s CFO. H.S. has

never been a CPA, and she was entirely unaware of the scheme to defraud or the use

of her name in that endeavor. Kimberley Tew knew that H.S. had addiction problems

and a troubled background that would make her a convenient scapegoat. She also

                                         18
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado       pg
                                    19 of 54




relied on her friendship with H.S., believing that H.S. would be less likely to divulge

information to the authorities. Michael Tew explained this thinking in one of the calls

with Yioulos that was recorded by law enforcement. [Testimony of H.S.].

                    b.    Kimberley Tew’s exploitation of M.M.’s financial
                          desperation

      Kimberley Tew was a cryptocurrency hobbyist who used the peer-to-peer

exchange platform Paxful. There, she met M.M. while using the false name “Matthew

Vertanen.” M.M. had established his own company, MCG, LLC, to engage in peer-to-

peer cryptocurrency exchange brokering. Over a course of time Kimberley convinced

M.M. that she was his friend. Eventually, she played up her experience at Google and

told M.M. that she had a trading algorithm she could use to generate fantastic 100%

returns on the market for bitcoin. She offered M.M. the opportunity to invest, noting

that she did this for others too. Kimberley Tew’s description of her luxury tastes —

Jimmy Choo shoes and elaborate trips to the Wynn in Las Vegas — lent further

credibility to her appearance of success. M.M. agreed and, at least at first, enjoyed

spectacular returns that basically doubled his investments. Michael Tew helped

Kimberley Tew with this separate “investment” business, once meeting with M.M. in

person in Ft. Collins to withdraw money that the Tews promised to convert into

bitcoin. He invested more and more with Kimberley until, eventually, he had invested

almost everything he had. [Testimony of M.M.]; see also ECF No. 341-1 (Log Entries

# 162, 205) (discussing debt owed to M.M.).

      M.M. was not a wealthy investor. He was a high school graduate and former

                                          19
Case No. 1:20-cr-00305-DDD    Document 458 filed 03/14/24      USDC Colorado      pg
                                   20 of 54




construction worker without a large financial safety net. Over time, Kimberley’s

apparent success evaporated. She was late in returning money to M.M. Or she would

return his bitcoin when asked, but then immediately ask for that bitcoin’s return on

the pretense that, without it, her algorithm would collapse and everyone would be

worse off. When Kimberley Tew’s returns to Michael decreased, or she delayed in

returning his bitcoin, M.M. became desperate and angry. See, e.g., ECF NO. 341-1

(Log Entries # 204 and 205)

      In the fall of 2018 Kimberley Tew took advantage of M.M.’s desperation by

offering him another opportunity to make money. She asked M.M. to open bank

accounts to receive money from the Victim Company. In return, he could keep 10% of

the transaction. M.M. agreed. Michael and Kimberley then instructed Yioulos to send

NAC’s money to M.M.’s accounts. M.M. would then convert that money into bitcoin,

which he would transfer to Kimberley. On a few occasions, when M.M. was slow to

get the money to Kimberley, Kimberley would respond with threats. Kimberley once

called M.M.’s wife and accused M.M. of stealing. She also told M.M. that she would

turn M.M. into authorities. [Testimony of M.M., GX 1004].

                   c.    Michael Tew’s exploitation of his friendship with
                         L.W.

      By the end of 2018, Michael and Kimberley needed to use another vendor to

hide their scheme. Michael Tew turned to his friend, L.W., who was the proprietor of

a business called P.M. Michael Tew prevailed on his friend to receive payments from

the Victim Company and then kick those payments back to Michael Tew. L.W. did

                                        20
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24    USDC Colorado      pg
                                     21 of 54




this on two occasions. After that, Michael Tew cut out L.W. as a middleman,

appropriated the P.M. name, and directed Yioulos to send the money directly into a

joint bank account controlled by both Michael and Kimberley Tew or into his own

accounts. [Testimony of Jonathan Yioulos, Testimony of Matthew Morgan, GX 312,

363, 975, 1002, 1003, 1005]; ECF No. 341-1 (Log Entries # 174 and 175 (discussing

payments to “actual” PM).

             4.        The Tews’ use of dummy email accounts and their
                       staggered deceptions of the Victim Company and Jonathan
                       Yioulos

      Michael and Kimberley Tew further staggered their layers of deception by

using dummy e-mail addresses to make it appear that the invoices were coming from

others. Kimberley Tew created an email account using the name “MCG, Inc.” — a

disguised variant of M.M.’s company — and then used that email account to submit

false invoices to the Victim Company. [Testimony of Lisa Palmer; GX 524, 980-984]

      Michael Tew similarly created email addresses using others’ names or

companies. The first he created used the name of C.R., who was another

cryptocurrency enthusiast befriended by Kimberley Tew. Another used P.M.’s name.

After he had set up GFL he took additional steps to bolster the pretense that it was

a real company by paying for a dedicated domain name — globalfuel.co — and an

associated email address, accounting@globalfuel.co. [Testimony of Lisa Palmer, GX

512, 520, 521, 975].

      Yioulos was a willing but often reluctant coconspirator. To encourage his


                                         21
Case No. 1:20-cr-00305-DDD         Document 458 filed 03/14/24   USDC Colorado     pg
                                        22 of 54




participation, the Tews represented to him that they were being extorted or

blackmailed and that only more money would save them. They also represented that

M.M. and C.R. — the purported extortionists — were the ones sending emails to

Yioulos. [Testimony of Jonathan Yioulos]; see e.g., ECF No. 341-1 (Log Entries # 37,

115). These statements were false. Michael and Kimberley Tew were using the same

tools they used to deceive the Victim Company to deceive Yioulos. The Tews did not

really believe that M.M. was going to resort to violence against them. Michael told

Kimberley that M.M. was just “empty threats. ECF No. 341-1 (Log Entry #205). And

C.R.’s “extortion” amounted to telling Michael and Kimberley that he would report

their theft of his money to the police. Id. By convincing Yioulos that they were

receiving emails from others of unpredictable disposition, Michael and Kimberley

Tew could manipulate Yioulos’s fear. To encourage him to send them NAC’s money

they would send emails from the MCG, Inc. and CR email accounts suggesting that

failing to do so would cause M.M. or C.R. to report Yioulos. See, e.g., ECF No. 341-1

(Log Entries # 58, 67, 75, 339).

             5.     The Tews developed expertise in banking practices to avoid
                    detection and ensure access to their ill-gotten gains

      The banking side of the fraud was also intricate. Michael Tew and Kimberley

Tew maintained multiple bank accounts at multiple financial institutions; some they

held in their individual names, and others were joint accounts. [GX 1001]. Through

these multiple bank accounts, they each made multiple transfers of funds that

originated from the fraud against the Victim Company or its affiliates. On many

                                            22
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     23 of 54




occasions, those transfers led to several cash withdrawals in a single day from

accounts controlled by Michael Tew or Kimberley Tew or both Michael and Kimberley

Tew. After withdrawing cash from the proceeds of the fraud, Michael Tew and

Kimberley often deposited the aggregated amount of cash from that day or over a few

days into cryptocurrency ATMs, where they were able to deposit United States dollars

in exchange for bitcoin, either held in their own wallets or sent to third parties, many

of whom were owed money. All told, the Tews deposited approximately $2,429,181

into just one company’s cryptocurrency ATMs during the conspiracy. This likely

substantially undercounts the total converted into cryptocurrency because other

companies also provide bitcoin ATM services and messages describe routine bitcoin

atm transactions. See, e.g., ECF No. 341-1 (Log Entry # 176, 179, 189, 192, 193, 348,

351, 356).

       During the early part of the conspiracy, when a bank that held accounts

receiving payments from the Victim Company closed some or all of the defendant

and/or Kimberley Tew’s accounts, the defendant and Kimberley Tew then created

multiple accounts at another credit union, of which Kimberley Tew was a member.

[GX 975]. Michael Tew asked bank managers at that location detailed questions

about their policies and what they might flag as suspicious transactions. [Testimony

of B.P.].

       D.    Summary of the Entities Used to Submit Fraudulent Invoices
             and the Dramatic Increase of Invoiced and Paid Amounts

       The chart pictured below, admitted at trial as Government Exhibit 1002,

                                          23
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24    USDC Colorado      pg
                                     24 of 54




summarizes the fraudulent invoices by the entity; the number of fraudulent invoices

submitted by or on behalf of that entity; the total dollar amount paid by the Victim

Company to the entity for Michael Tew and Kimberley Tew’s benefit or directly to

bank accounts controlled or operated by the defendant and Kimberley Tew; and the

increase over time in the amounts that the Tews personally benefitted from this

fraud.




         E.    Michael Tew responded to the possibility of being caught by
               seeking additional fraud payments so that he could flee

         In the days and weeks leading up to Michael Tew’s eventual arrest, Michael

and Kimberley Tew were both in touch with Yioulos. In early July 2020, Yioulos had

told the defendant that the FBI was asking questions, a fact that Yioulos had become

aware of as the Victim Company began looking at its books to understand the

fraudulent payments. Both Michael Tew and Kimberley Tew were concerned about

an FBI and/or IRS investigation. On July 8, 2020, Michael Tew again asked Yioulos

                                         24
Case No. 1:20-cr-00305-DDD    Document 458 filed 03/14/24      USDC Colorado      pg
                                   25 of 54




for additional funds in the form of bitcoin; this time, the money was to be used to

facilitate his, Kimberley Tew, and their minor children’s flight from the country.

[Testimony of Jonathan Yioulos]; ECF NO. 341-1 (Log Entry # 376).

      F.    Prohibited Financial Transactions

      Between August 2018 and July 2020, Michael Tew and Kimberley Tew

organized and coordinated numerous prohibited financial transactions in amounts

greater than $10,000 that each knew was sourced from the proceeds of unlawfully

obtained activity, namely conspiracy to commit wire fraud and wire fraud. Each of

these transactions was described at trial using summary exhibits GX 1000 – 1023

that reference the underlying bank records.

      G.    Kimberley Tew’s efforts to obstruct the investigation and
            prosecution

      Kimberley Tew acted to obstruct the investigation into the charged fraud and

money laundering conspiracy by tampering with witnesses and by destroying

evidence.

      Kimberley’s Tew’s first act of obstruction was her most successful: she

convinced Michael Tew not to cooperate against her. Michael Tew was arrested on

July 8, 2020. He immediately agreed to cooperate, but negotiated a major concession.

His first proffer contained a provision that prevented the government from using his

information to prosecute Kimberley. Michael Tew later decided to waive that

concession, agreed to cooperate against Kimberley, and he agreed to provide

information against her at a subsequent proffer session. He also agreed to allow the

                                        25
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24        USDC Colorado      pg
                                    26 of 54




government to image his phone. IRS-CI and FBI agents surreptitiously arranged a

meeting with him (outside of Kimberley Tew’s knowledge) at a Yeti store in Cherry

Creek to perform the cell phone extraction on July 29, 2020. Sometime that day,

however, Kimberley Tew figured out that the meeting was happening. While the

imaging was underway, Kimberley Tew showed up and immediately began

haranguing Michael Tew, his attorneys, the prosecutors, and the agents. Using their

children as a cudgel — claiming that Michael Tew didn’t care about them — and

generally doing everything she could to disrupt the meeting, including claiming to

fire Michael Tew’s attorney without his consent, she eventually coaxed her husband

into leaving. [GX 551].1 Michael eventually stopped cooperating.

      At the July 29 Yeti meeting, which was audio recorded, Kimberley Tew

admitted to her second act of obstruction. Acknowledging that the agents were there

to gather evidence from Michael Tew’s phones, she tried to convince the assembled

gathering that it was a futile exercise: “I already wiped most of it anyway,” she said.

[GX 584]. Sure enough, when agents later tried to obtain messages that were stored

in Kimberley’s iCloud account, they found that her tampering had resulted in a

situation where half of conversations — the half involving Kimberley Tew — were


      1 GX 551 is the audio recording of the entire meeting. It was marked, but not

admitted at trial. Statements made by Michael Tew on the recording are protected
by the proffer agreement and should not be referenced as part of his sentencing. But
Kimberley Tew was not a party to that agreement, her statements were made of her
own volition, and the Court can and should review and consider the entire recording
as evidence of her obstruction.


                                          26
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24      USDC Colorado       pg
                                     27 of 54




missing. See, e.g., ECF No. 341-1 (Log Entries # 19, 28, 35, 37, 46, 51, 85, 108, 115,

and 118).

      Finally, as the Speedy Trial Act ticked its way towards indictment, Kimberley

Tew took action to tamper with H.S. She tried to play on H.S.’s sympathy by sending

her a slideshow with pictures of their friendship. In late 2020 or early 2021 she tried

the other tack: she threatened to reveal extremely embarrassing and intimate private

information about H.S. unless H.S. remained silent. [Testimony of H.S.]. The Grand

Jury’s indictment came in February 2021.

      H.     Michael and Kimberley              Tew’s    parallel   cryptocurrency
             investment fraud scheme

      As described above, Kimberley Tew offered M.M. an “investment opportunity”

involving cryptocurrency. She offered Jonathan Yioulos much the same. But it was

just another scam. Kimberley was taking bitcoin from others under the pretense that

she had a proprietary algorithm that could double their money. But she lost it.

Michael Tew explained all of this to Yioulos:

      MT 1312:      she has other investors, legitimate wealthy guys that are buying
                    BTC through her right now. Its weird to explain but they are too
                    old to use the exchanges.

      MT1312:       Totally separate from any of this. NY people. Not my people, I
                    don’t know any of them. Its her own thing.

      MT1312:       She can get it.

ECF No. 341-1 (Log Entry # 175). Later on, Michael Tew told Yioulos a variation of

the story that Kimberley Tew had told M.M.: sometimes she couldn’t pay people back


                                          27
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24        USDC Colorado      pg
                                    28 of 54




because her “script” had gone amok. “She came to me and said shit I have jons BTC

I’m sending ypbuimband [sic] then said shit I just lost momentum in my script,”

Michael Tew told Yioulos. ECF No. 341-1 (Log Entry # 257). Michael Tew elaborated

the next day: “KT was running her script, was waiting for $15K from my airline /

chairman of frontier project, he literally never sent it I’ve been slaving away for him

and it fucked everything up.” Id. (Log Entry # 257)

       Kimberley Tew, aided and abetted by Michael Tew, was essentially committing

one fraud to subsidize another, like a particularly grotesque Ponzi scheme. Id. (Log

Entry # 129) (noting plan for Kimberley to use “the last two wires” to build a

“portfolio”).

       On August 5, 2019, Michael Tew begged Yioulos for money from the Victim

Company, explaining that without it “we’re going to bounce a check to investors. A

check to investors.” Id. (Log Entry #220). In correspondence between Michael Tew

and Kimberley Tew, Kimberley would complain that having to pay back her investors

meant not having any money to gamble. Id. (Log Entry # 283) (“With the negative

accounts and bills we have to pay plus the car and AN that’s over 60K. It really leaves

nothing for Vegas.”). On other occasions, Kimberley would pressure Michael to ask

Yioulos for money so that she could use the Victim Company’s money to recoup

investor losses, instead of paying them out herself. Id. (Entres # 173, 178, 185, 187,

192, 197 222, 261, 274, 286, 347, 367) (discussing need for money from Jon to pay out

several others).


                                          28
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     29 of 54




      James log entry number 185 is particularly illuminating. Kimberley had lost

so much money gambling in Las Vegas that she couldn’t pay an investor who was “all

over” her to see his account. Desperate, she told Michael to offer Yioulos three bitcoin

to send them money. Then she and Michael proceeded to make up false excuses as to

why they couldn’t pay the investor, with Michael pointedly noting that they “need a

new story.” Just a few days later, Kimberley told Michael that she had gotten a loan

from one investor that she could use to pay another (a classic manifestation of a Ponzi

scheme), while they waited for money from Yioulos so that Kimberley would not “blow

up.” Id. (Log Entry # 187). When “everyone is cashing” out their investment with

Kimberley, she asked Michael to ask Yioulos to bail her out. Id. (Log Entry # 197).

And then she and Michael discussed how to alter the date and amount of withdrawals

from cryptocurrency investors so they could show them false and fraudulent

statements. Id. On another occasion, Kimberley warned Michael that an investor

“could cash a check” and that she needed to make sure Yioulos sent them money to

cover it. Id. (Log Entry # 274.); see also Id. (Log Entry # 261) (featuring Kimberley

asking Michael to “talk to Jon” because “I have people asking for money today”).

      In September 2023, a Denver District Court concluded by a preponderance of

the evidence that Kimberley Tew committed civil theft when she took cryptocurrency

from an investor and refused to give it back. ECF No. 450-1 at 15. The court’s

description of the undisputed facts tells a story similar to the one detailed by M.M.

and Yioulos. Kimberley Tew learned that an acquaintance, D.B., had an interest in


                                          29
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado      pg
                                    30 of 54




cryptocurrency, told D.B. she could make enormous returns trading cryptocurrency,

and offered to take bitcoin and invest it on D.B.’s behalf. She also represented that

she was doing the same for others. D.B. gave Kimberley thousands of dollars. When

he asked for it back, he got the same types of excuses Kimberley had given M.M.

Kimberley eventually refused to give the money back. Id. at 2-10.

      I.     Evidence related to Michael and Kimberley Tew’s income while
             retaining counsel through the Criminal Justice Act program

      On December 13, 2022 Michael Tew and Kimberley Tew filed affidavits with

the Court so that it could make the statutorily required finding that they were

“financially unable to obtain counsel.” 18 U.S.C. § 3006A(b). However, bank records

show that, between January 2022 and December 2022, Michael Tew received

$678,595.22 in deposits into a single bank account. This is just over nine times the

median     United   States   income   of   $74,580.    https://www.census.gov/library/

publications/2023/demo/p60-279.html.

      Between January 2022 and January 2024, Michael Tew’s single account

received enough money to make him a bona fide millionaire: $1,212,181.27.

                         Month and Year         Deposits
                         01/22                  $50,875.79
                         02/22                  $124,989.95
                         03/22                  $55,521.54
                         04/22                  $57,233.14
                         05/22                  $71,069.11
                         06/22                  $62,932.81
                         07/22                  $53,482.97
                         08/22                  $51,086.67
                         09/22                  $59,056.31


                                           30
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24      USDC Colorado      pg
                                    31 of 54




                         10/22                $27,523.52
                         11/22                $25,332.10
                         12/22                $39,491.31
                         01/23                $36,856.25
                         02/23                $46,199.01
                         03/23                $41,929.82
                         04/23                $22,987.04
                         05/23                $33,174.51
                         06/23                $35,474.86
                         07/23                $36,500.05
                         08/23                $30,875.68
                         09/23                $43,116.57
                         10/23                Not available
                         11/23                $51,069.33
                         12/23                $63,477.26
                         01/24                $91,925.67
                         TOTAL                $1,212,181.27

      The records show a similarly byzantine financial history to that presented at

trial, including substantial transfers to cryptocurrency exchanges; Kimberley Tew;

and app-based peer-to-peer payment platforms. And this is only one account. Other

evidence obtained by the government shows that the Tews had financial accounts at

other banks and brokerages. Moreover, during the pendency of the case, Michael and

Kimberley Tew lived in a luxury apartment complex in downtown Denver for

$8,649.69 a month.

      The government has asked the Court to release the affidavit so that it can

evaluate whether the Tews were truthful in their statements to the Court. It does not

have the affidavit and so cannot say whether the Tews committed perjury or

defrauded the Criminal Justice Act program. But the Probation Office can access the

affidavit and determine whether they did and, if so, how that should impact their

                                         31
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado      pg
                                    32 of 54




sentence, including whether to impose a fine as part of that sentence.

      J.     Evading Payment of Taxes

      Despite having taxable income from their contracts with the Victim Company

and later from the fraud described herein, neither Michael nor Kimberley Tew filed

income tax returns for tax years 2016 through 2022. They had previously filed tax

returns, and were therefore aware of their responsibility to do so. Michael and

Kimberley Tew, while living and working in Colorado, devised the complex fraud as

an income generation scheme, and then took a variety of actions to conceal that

income. These actions included causing the Victim Company to issue payments to

pre-existing companies like MCG, 5530 JD and PM but to route those payments into

accounts that the defendant and his coconspirators knew were controlled by the

Michael and Kimberley Tew. Later, Michael Tew used shell entities like GFL and

AMR as nominees, again to put distance between the defendant and the income that

was being generated to GFL and AMR. These were, among others, affirmative acts

taken by Michael and Kimberley Tew to evade or attempt to evade the payment their

taxes. Michael and Kimberley Tew engaged in these actions willfully: they knew that

they had income, that they were required to file tax returns and pay tax on that

income, and that they specifically intended not to pay those taxes. See, e.g., ECF NO.

341-1 (Log Entry # 129, 139, 242) (musing about how they are going to get money to

pay their taxes).

      A very conservative estimate of the taxes due and owing is $1,307,743.60


                                         32
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado     pg
                                    33 of 54




calculated by adding together the fraud proceeds in the relevant years plus either

compensation reflected in IRS records and then applying the 20% tax rate set forth

at U.S.S.G.§2T1.1(c)(2)(A):

                                              Applicable   Tax
      Tax Year           Amount                                  Tax Loss
                                              Rate
      2016       Gross
                         $185,000.00          20%                $37,000.00
      Income
      2017       Gross
                         $312,500.00          20%                $62,500.00
      Income
      2018       Gross
                         $702,215.00          20%                $140,443.00
      Income
      2019       Gross
                         $2,465,002.00        20%                $493,000.40
      Income
      2020       Gross
                         $2,471,001.00        20%                $494,200.20
      Income
      2021       Gross
                         $403,000.00          20%                $80,600.00
      Income
                                                                 $1,307,743.60

II.    ALL OF THE FACTORS THAT THE COURT MUST CONSIDER WEIGH
       IN FAVOR OF THE RECOMMENDED SENTENCE

       In fashioning a sentence, the Court must address each of the factors set forth

at 18 U.S.C. § 3553(a), including (1) the applicable United States Sentencing

Guidelines (the “Guidelines”), (2) the nature, circumstances, and seriousness of the

offense, (3) the history and characteristics of the defendant, and (4) the need to

promote respect for the law, afford adequate deterrence, and protect the public from

further crimes. Each fully supports the Recommended Sentence.




                                         33
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado       pg
                                    34 of 54




   A. The Guidelines recommend a substantial prison sentence that should
      not deviate from others that would be imposed on similarly situated
      defendants being sentenced in other district courts around the
      country (18 U.S.C. §§ 3553(a)(4) and (a)(6))

      The government submits that Michael Tew’s Offense Level is 32, based on

reference to the relevant Guidelines:

     Enhancement                        Guideline         Offense Level
                                        Provision
     Total Fraud Offense level                            27
     Base Offense level                 2B1.1(a)(1)       7
     Loss > $3.5 million                2B1.1(b)(1)(J)    +18
     Sophisticated Means                2B1.1(b)(1)       +2
     Additional Enhancements
     § 1957 laundering                  2S1.1(b)(a)       +1
     Leader/Organizer1                  3B1.1(c)          +2
     Abuse of Position of Trust         3B1.3             +2
      Total Offense Level                                 32
     Recommended Range                                    121-151       months

                   1. There is no doubt about the base offense level, the
                      intended loss, or the applicability of the enhancement
                      for violating 18 U.S.C. § 1957

      Evidence presented at trial showed beyond a reasonable doubt that the

defendant committed wire fraud (which has a base offense of 7), “spending” money

laundering in violation of 18 U.S.C. § 1957 (a one-level enhancement) and that the




      1 Despite his lack of criminal history, Michael Tew will not qualify for the

zero-point offender reduction under new guideline §4C1.1 because he was a leader
organizer of the scheme. U.S.S.G. § 4C1.1 See United States v. Mahee, 2023 WL
8452433, *3-4 (N.D. Ga. Dec. 6, 2023) (“No defendant who receives an Aggravating
Role Adjustment under § 3B1.1 of the Guidelines can ever be eligible for the Zero-
Point Offender Adjustment under § 4C1.1(a).”); see also United States v. Gordon,
2023 WL 8601494, at *3 (D. Maine, Dec. 12, 2023).

                                           34
Case No. 1:20-cr-00305-DDD        Document 458 filed 03/14/24     USDC Colorado      pg
                                       35 of 54




defendant intended to inflict the losses charged in the indictment, which are way

above the $3,500,000 threshold (an 18-level enhancement). The court should also

have no trouble concluding that it is more likely than not that the other sentencing

enhancements apply here. U.S.S.G. § 6A1.3, comment; United States v. Watts, 519

U.S. 148, 156 (1997) (acknowledging that preponderance of the evidence standard is

appropriate for findings of fact related to sentencing).

                    2. Michael Tew, an experienced corporate officer, used
                       sophisticated means to siphon over $5 million from a
                       large corporation through frequent but relatively small
                       individual transactions to maintain the scheme for two
                       years

       The Tews submitted false invoices in return for money. But the surface-level

simplicity of this type of fraud belies the “especially intricate offense conduct

pertaining to the execution or concealment of” of their fraud offense. U.S.S.G. § 2B1.1

cmt. app. n. 9(B). Michael Tew carried out the scheme using several of the means and

methods the Sentencing Commission and courts around the country have identified

as hallmarks of sophistication:

   •   Use of others’ identities. Michael Tew adopted the identities of other
       individuals and companies to create the appearance that multiple fake vendors
       were submitting invoices, all as part of a clever effort to spread out the
       payments on the victim company’s internal balance sheets so that he could
       avoid detection and keep the scheme going. Cf. United States v. Sethi, 702 F.3d
       1076, 1079 (8th Cir. 2013) (noting sophisticated means involved in using
       names and identities of others to conceal workers’ compensation insurance
       scheme).

   •   Creation of shell companies. Realizing that just using the identities of other
       companies provided only shallow protection from any curious auditors, Michael


                                           35
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24        USDC Colorado      pg
                                     36 of 54




       Tew personally created a fictitious shell company in a different jurisdiction —
       Global Fuel Logistics and its purported subsidiary Aero Maintenance
       Resources — to help conceal the scheme. He also created associated bank
       accounts to help obscure the fact that he was the direct beneficiary of the
       related financial transactions. U.S.S.G. § 2B1.1 cmt. app. n. 9(B) (“Conduct
       such as hiding assets or transactions, or both, through the use of fictitious
       entities . . . also ordinarily indicates sophisticated means.”); See, e.g., United
       States v. Robertson, 493 F.3d 1322, 1332 (11th Cir. 2007) (finding no error
       where district applied enhancement against defendant who used fictitious
       entities and then, as here, switched them out at intervals to circumvent victim
       controls and avoid detection).

   •   Use of multiple bank accounts and structured transactions. Michael Tew used
       multiple bank accounts and then employed a dizzyingly complicated series of
       transfers, wires, deposits, and withdrawals to evade his banks’ anti-money
       laundering protocols and quickly distance himself from the fraud proceeds. As
       set forth above, he specifically created sham bank accounts in the name of GFL
       to add a layer of fraud and deception to his enterprise. Although Sand Hill was
       not completely fraudulent, he took specific steps to register that entity as a
       foreign corporation in Colorado so that he could then open bank accounts for
       the use of obtaining fraud proceeds. Cf. United States v. Mirando, 768 F. App’x
       596, 598 (9th Cir. 2019) (affirming as reasonable exercise of discretion District
       Court’s finding that use of fake entity and associated bank account was
       sophisticated); United States v. Erwin, 426 F. App’x 425, 436-37 (6th Cir. 2011)
       (affirming District Court’s reasoning that using knowledge of bank system to
       structure transactions to conceal scheme was among sophisticated means used
       to perpetrate fraud). He also used the acronym SHI LLC to disguise that
       payments were actually going to Sand Hill, an entity with which the Victim
       Company’s other accounting employees were familiar.

   •   Creation of fake invoices. Michael Tew used his prior experience as a corporate
       CFO to help devise increasingly complicated invoices, submitted on behalf of
       multiple fake vendors, employing split-payment structures, non-sequential
       numbers, increasingly elaborate descriptions of the services provided, and
       inside knowledge of how to make sure the invoices would avoid scrutiny. See,
       e.g., United States v. Tanke, 743 F.3d 1296, 1307 (9th Cir. 2014) (concluding
       that creation of fake invoices supported sophisticated means enhancement).

   •   Creation of fake email accounts and registration of sham domain. Michael Tew
       created fake email accounts to further disguise his involvement in the
       submission of false invoices. This aspect of the scheme layered one deception


                                           36
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado      pg
                                     37 of 54




       on top of another in a way that shrewdly leveraged his ruses for maximum
       effect. Michael Tew was already deceiving the victim company by using false
       invoices. But he was also deceiving coconspirator Jonathan Yioulos, telling him
       that the invoices were being submitted by third-parties who were extorting and
       blackmailing the Tews. That wasn’t true. It was part of an effort to
       disingenuously appeal to Yioulos’s desire for friendship. In reality, the emails
       were sent by Michael and Kimberley Tew. Cf. United States v. Milligan, 77 F.
       4th 1008, 1013 (D.C. Cir. 2023) (affirming finding of sophisticated means
       where defendant created fake email accounts to impersonate others).

   •   Recruitment of others. Michael Tew recruited others to help him perpetrate
       the scheme so that he could diffuse responsibility. Sometimes he recruited
       knowing coconspirators, like Jonathan Yioulos. At other times he manipulated
       close friends, like L.W., to provide personal assistance in ways that advanced
       the scheme (i.e., use their bank accounts to receive money, which was then
       forwarded to Michael Tew in transactions he had designed to conceal his role)
       Cf. United States v. Snow, 663 F.3d 1156, 1164 (10th Cir. 2011) (affirming
       sophisticated means finding in scheme that involved defendant asking others
       for assistance).

       Even if any single transaction might be viewed as unsophisticated, the

relentless, competitive, and coordinated nature of the overall conduct is more than

sufficient to make the scheme — which evaded detection by the victim company’s

accounting staff for two years through numerous transactions that sometimes

required multiple false invoices, the use of six different fake vendors, and dozens of

bank accounts — an especially complex one. United States v. Weiss, 630 F.3d 1263,

1279 (10th Cir. 2010) (explaining that “Guidelines do not require every step of the

defendant’s scheme to be particularly sophisticated” and quoting opinions in other

districts for principle that scheme as a whole can be sophisticated where it involves

repetitive and coordinated conduct that links several steps to exploit vulnerabilities

and avoid detection); Cf. United States v. Hogeland, No. 10-cr-0061, 2012 WL


                                          37
Case No. 1:20-cr-00305-DDD        Document 458 filed 03/14/24     USDC Colorado      pg
                                       38 of 54




4868904, at *6 (D. Minn. Oct. 15, 2012) (finding sophisticated means in remarkably

similar wire fraud scheme that victimized logistics company through submission of

fraudulent invoices from multiple fake vendors), affirmed on other grounds United

States v. Bennett, 765 F.3d 887, 899 (8th Cir. 2024); United States v. Horob, 735 F.3d

866, 872 (9th Cir. 2013) (affirming finding of sophisticated means where defendant

“manipulated several people to lie for him, used several different bank accounts

(including accounts of other people) to move funds around, and fabricated numerous

documents. Moreover, the complicated and fabricated paper trail made discovery of

his fraud difficult” to untangle).

             3.     Michael Tew led the actions of other criminally culpable
                    scheme participants and otherwise organized and
                    supervised efforts to make the scheme a success

      Leadership      can    be      manifold:   criminal   conspiracies   are   often

compartmentalized, with each conspirator exercising entrepreneurial verve within a

delimited area of responsibility. The court and can and should apply the enhancement

to both Michael and Kimberley Tew because each organized and led different aspects

of the fraud. U.S.S.G. § 3B1.1 cmt. app. note 4 (“There can, of course, be more than

one person who qualifies as a leader or organizers or a criminal association or

conspiracy); United States v. Valdez-Arieta, 127 F.3d 1267, 1271 (10th Cir. 1997)

(noting this feature of guidelines and going on to conclude that someone can be subject

to this enhancement even if he or she has no underlings: it’s enough to have an

organizing role and there can be many organizers).


                                            38
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24        USDC Colorado      pg
                                     39 of 54




   •   Recruiting of accomplices. Michael Tew was directly responsible for recruiting
       Jonathan Yioulos into the scheme. Initially, he appealed to Yioulos’s desire for
       friendship. Later, he used threats, emotional manipulation, and played on
       Yioulos’s greed and fear to keep him involved. Cf. United States v. Clark, 747
       F.3d 890, 897 (D.C. Cir. 2014) (finding enhancement could apply where
       defendant controlled another criminal participant); United States v. Yarnell,
       129 F.3d 1127, 1139 (10th Cir. 1997) (concluding that defendant was leader or
       organizer of scheme).

   •   Obtaining unwitting services of third parties. Michael Tew supervised and
       organized the participation of L.W., who agreed to use his company bank
       accounts on two occasions to receive fraudulent proceeds and then send those
       proceeds to Michael Tew. Cf. United States v. Byrd, 690 F. App’x 892, 894

   •   Nature of Participation. Michael Tew exercised substantial oversight and
       supervision of coconspirator Jonathan Yioulos throughout the conspiracy,
       providing advice and information about how to use invoices to avoid scrutiny
       and directing Yioulos on where to send fraud proceeds. In this case, Yioulos
       acted to execute the charged scheme only when Michael or Kimberley Tew told
       him to do so. Cf. United States v. Atkins, 881 F.3d 621, 628 (8th Cir. 2018)
       (concluding that there was no error in applying enhancement to defendant who
       planned timing and frequency of fictitious transactions as well as amount of
       fraudulent proceeds in each payment); United States v. Byrd, 690 F. App’x 892,
       895 (6th Cir. 2017) (affirming District Court’s application of enhancement to
       defendant whose accomplice testified that he took instructions from defendant
       and took no action without approval).

   •   Planning and organizing of offenses. Michael Tew, in conjunction with
       Kimberley Tew planned and organized the use of the various different vendors
       to maintain the scheme over the course of two years. He took the initiative in
       planning and organizing the use of P.M. as a sham vendor when the sham
       vendors that had previously been organized by Kimberley (H.S. CPA, MCG and
       5530 JD) were at risk of being over-exposed. He created fake email accounts,
       initially using L.W., and later that of his real company, to give the transactions
       a sheen of legitimacy. He also planned and organized for Sand Hill to be
       registered in Colorado, allowing it to receive scheme proceeds through its bank
       accounts. He similarly planned and organized the creation and use of GFL. It
       was his idea to use his in-laws’ address for the corporation and to create
       multiple bank accounts on behalf of that entity.

   •   Claimed right to proceeds. Michael Tew and Kimberley Tew both controlled


                                           39
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     40 of 54




      and laid claim to the vast majority of the millions stolen as a result of the
      scheme. Cf. United States v. Brown, 293 F. App’x 826, 830 (2d Cir. 2008)
      (concluding that District Court was reasonable in applying leadership
      enhancement where defendant paid coconspirators only a small fraction of
      amount he kept for himself); United States v. Tookes, 456 F. App’x 159, 163 (3d
      Cir. 2012) (finding no error in application of enhancement where defendant
      recruited coconspirators, directed their actions, and maintained sole control of
      assets and proceeds of fraud).

      But for Michael Tew’s considerable organizing prowess, this scheme would not

have been successful for two years. The court should recognize the criminogenic

nature of Michael Tew’s conduct and apply the enhancement.

             4.     Michael Tew abused his position of trust as the Victim
                    Company’s CFO to initiate the scheme and exploit its
                    known accounting vulnerabilities

      At the outset of the scheme, Michael Tew had worked for the Victim Company

for several years and risen to the title of Chief Financial Officer. The company’s owner

trusted and relied upon him during a particularly difficult transition out of

bankruptcy and a period of personal difficulties, when the owner’s wife was fighting

cancer. One way that trust manifested was in the issuance to Michael Tew of a

corporate credit card — despite his status as a contractor — and in Jonathan Yioulos’s

willingness to trust Michael Tew’s directions and advice. Michael Tew used the

immense trust placed in him to initiate the fraud. That breach of trust should be

recognized as an independent source of harm: low-trust societies are rarely

prosperous ones and it is appropriate to acknowledge that Michael Tew’s betrayal

makes his crime more serious than other types of fraud. U.S.S.G § 3B1.3 background

cmt. (recognizing that abusers of trust “generally are viewed as more culpable”); Cf.

                                          40
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24          USDC Colorado    pg
                                     41 of 54




United States v. Barrett, 178 F.3d 643, 646 (2d Cir. 1999) finding no error in

application of enhancement against former vice president of sales even though he had

to seek funds from accounting department because his position meant that

accounting did not question his requests and because he had authority to open

accounts, access records, and approve invoices).

                5.   The range of 121-151 months recommended by the
                     guidelines provides a rough approximation of the kind of
                     sentence that is sufficient but not greater than necessary to
                     accomplish the goals of criminal justice

      The defendant has no known criminal history. At Offense Level 32, the

Sentencing      Guidelines   recommend    a     sentence   between    121-151   months’

imprisonment. U.S.S.G.§ 1B1.1(a)(7); U.S.S.G. ch. 5 pt.A. This range is, by itself, one

of the factors the Court should consider before imposing a sentence. 18 U.S.C.

§ 3553(a)(4).

      The Guideline range is not mandatory, but it should be a persuasive

background consideration for organizing and thinking about sentencing in this case.

As the Supreme Court has advised, the sentencing range provides a useful framework

for evaluating all of the various sentencing factors in one conclusive gestalt because

it provides a “rough approximation” of sentences that will achieve all of § 3553(a)’s

objectives. Rita v. United States, 551 U.S. 338, 350 (2007); United States v. Kristl, 437

F.3d 1050, 1054 (10th Cir. 2006). For this reason, sentences within the Guideline

range are presumed to be reasonable on appeal. Kristl, 437 F.3d at 1054.

Furthermore, a sentence within the range satisfies not just one factor but two:

                                           41
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado       pg
                                    42 of 54




sentencing within the range is also the best way to avoid an unwarranted sentencing

disparities among similarly situated defendants, as required by 18 U.S.C.

§ 3553(a)(6). Id. (describing how Guidelines remain essential tool for creating a fair

and uniform sentencing regime across the country). The Recommended Sentence is

thus supported by two of the statutory sentencing factors.

      But set the Guidelines aside for a moment. As set forth in more detail below,

the conclusion that the Guidelines independently urge in this case — a sentence

between 121 and 151 months — is not an abstract or academic one. The particular

facts of this case viewed through the prism of § 3553(a) fully support the

Recommended Sentence of 139 months.

      B.     The brazen and callous nature of serious crimes that imposed
             substantial financial and emotional harm under privileged
             circumstances fully support the Recommended Sentence (18
             U.S.C. § 3553(a)(1) and (a)2(A))

      For nearly two years, Michael Tew devoted his considerable talents to

developing and refining an increasingly elaborate exercise in deception that imposed

substantial costs on everyone around him. He had multiple opportunities to stop. He

could have taken his termination from the Victim Company as a wake-up call. He

didn’t. Instead, he turned it into Yioulos’s and the Victim Company’s nightmare. He

leveraged the fact that his friend and subordinate had helped him commit fraud on a

few isolated occasions in August and September 2018 to pry a steady stream of

fraudulently-induced payments out of the Victim Company into the end of that year.

At that point, he could have kept his promise to Yioulos — that the “final invoices” to

                                          42
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado      pg
                                    43 of 54




MCG and 5530 JD would be final — and taken advantage of the end-of-year

accounting process to put it all behind him. He didn’t. Instead, he came up with new

excuses, new vendors, and new means of committing fraud. Dishonesty became

central to the defendant’s life in ways that corrupted him and those around him.

      Nothing about the defendant’s decision to commit his crime — and to bring

others into it —arose out of some kind of moral, ethical, or professional dilemma. To

the extent his spouse and coconspirator imposed upon him difficult and unreasonable

expectations, he confronted a problem that millions overcome everyday without

resorting to crime. The same is true of any responsibility he had for helping his wife

navigate a serious gambling addiction: countless people handle these kinds of

difficulties without stealing (a choice that had the perverse consequence of

empowering and enabling an addiction problem, not managing it). Nor were Michael

Tew’s criminal choices the product of crippling necessity. Throughout this period the

defendant lived in upper-class comfort, using income from the scheme to pay for an

extravagant apartment, fine dining, vacations, and luxury couture. This was a crime

of choice, chosen wantonly and without regard for consequences.

      Federal wire fraud and money laundering crimes that inherently spill across

state lines to infect interstate commerce are already among the most serious of

non-violent crimes a person can commit. But Michael Tew’s crimes stand out. This

was not a “one off” or an anomaly. It was a deliberate pattern of criminal behavior

carried out over a long period of time. This makes it more serious than most theft


                                         43
Case No. 1:20-cr-00305-DDD       Document 458 filed 03/14/24     USDC Colorado      pg
                                      44 of 54




crimes. The loss amount of more than $5,000,000 also makes it more serious. In 2022

the median loss amount for federal fraud offenders was $160,737 and only 17.5%

involved losses of more than $1.5 million. The defendant’s crime is likely among the

most serious financial offenses to be adjudged by all federal courts this year. Quick

Facts,        Fiscal   Year   2022,   available    at   https://www.ussc.gov/sites/

default/files/pdf/research-and-publications/quick-facts/Theft_Property_

Destruction_Fraud_FY22.pdf (accessed on March 7, 2024) (“Quick Facts”).

Everything else about the crime — its complicated nature and its broad scope, its

corruption of the banking system, its betrayals of trust, its criminogenic tendency to

ensnare others in criminal behavior, and its blithe disregard for consequences —

makes it worse.

         The nature of the crime is serious and nothing about its circumstances makes

it sympathetic or deserving of leniency. This factor weighs heavily in favor of the

Recommended Sentence.

         C.      Nothing about the defendant’s history warrants less
                 punishment. Indeed, everything about the characteristics he
                 demonstrated while committing the crime support the
                 Recommended Sentence (18 U.S.C. § 3553(a)(1)

         The defendant was a highly trained and experienced corporate officer who

legitimately earned hundreds of thousands of dollars a year in positions that

empowered him with vast discretion to solve interesting business problems working

alongside good people delivering services they could be proud of. Nothing about the

defendant’s background —one filled with a loving family, a good upbringing, and

                                          44
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24        USDC Colorado      pg
                                    45 of 54




plenty of support — mitigates, explains or contextualizes his criminal behavior.

“Criminals who have the education and training that enables people to make a decent

living without resorting to crime are more rather than less culpable than their

desperately poor and deprived brethren in crime.” United States v. Stefonek, 179 F.3d

1030, 1038 (7th Cir. 1999).

      To commit, continue, and conceal his crime for two years, Michael Tew had to

exhibit characteristics that were particularly cruel and callous. He convinced Yioulos

to lie to their former colleagues for years. He layered those lies on top of others: he

lied to Yioulos about being threatened by others and he lied to Yioulos about the true

origins of the invoices being submitted by M.M. and C.R. He lied to federal agents

when, on July 8, 2020, they asked him whether he was still in touch with anyone at

the Victim Company. The Court will have to evaluate whether he even lied to the

Court in the middle of his prosecution by asking for counsel — intended for the

indigent and those in true need — while, in reality, his bank accounts bulged with

five-figure deposits.

      The Recommended Sentence, which is not at the top of the advisory guideline

range, takes into account mitigating factors that might apply here. The defendant

has no criminal history. Outside of financial crimes fueling his greed, he appears to

be law abiding (i.e., non-violent). As far as the government can tell, the defendant

makes reasonable efforts to care for his children. He was encouraged to commit the

crime by his own wife, whose relentless hectoring and threats would have been


                                          45
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24       USDC Colorado       pg
                                    46 of 54




difficult to ignore. At some level, he appears to want to do the right thing: he did

initially cooperate. On occasions has exhibited remorse for his actions. These

characteristics weigh in favor of a somewhat lower sentence than might otherwise be

the case.

      But these characteristics should not be given undue influence. Michael Tew

committed the crime knowing that getting caught would mean he faced the very

realistic possibility of being incarcerated during the childhoods of his two daughters.

This consequence — unimaginable to many — did nothing to deter his lies or to

encourage him to make different choices. This is all the more true where, as here, the

defendant’s spouse and co-parent was intimately involved in the offenses, and thus,

subject to the same exposures. The fact that the defendant has no criminal history

and immense social capital is true of most defendants convicted of crimes involving

the mendacious pursuit of more money, and these facts are already taken into account

by the Guidelines. Quick Facts (noting that 70.6% of offenders sentenced using

§ 2B1.1 of the Guidelines were in Criminal History Category I); Cf. United States v.

McClatchey, 316 F.3d 1122, 1135 (10th Cir. 2003) (noting, in context of disfavored

Guideline departure at U.S.S.G. § 5H1.11, that it expects district courts to view good

character references with skepticism in sentencing executives who commit

white-collar offenses); Stefonek, 179 F.3d at 1038 (emphasizing that district judges

should not impose ‘middle class’ sentencing discount and then explaining, by

reference to U.S.S.G. 5H1.10, that “[b]usiness criminals are not to be treated more


                                          46
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     47 of 54




leniently than members of the “criminal class” just by virtue of being regularly

employed or otherwise productively engaged in lawful economic activity.”)

      Michael Tew should not receive a substantially lower sentence as a

professional courtesy arising from his privileged circumstances. The sentencing

statute, 18 U.S.C. § 3553(a), directs the court to consider whether the sentence

imposed satisfies certain goals. Reputational harms and professional sanctions are

not the sentence (though they may be collateral consequences of it). Relying on them

to lower a sentence is thus improper. See, e.g., United States v. Morgan, 635 F. App’x

423, 444 (10th Cir. 2015) (reversing sentence, in part, based on procedural error in

relying on such collateral consequences and citing numerous Courts of Appeals

expressing a dim view of such rationales because they “impermissibly favor criminals

. . . with privileged backgrounds”).

      A street hustler who swipes valuable items off-the-counter or commits

large-scale credit card fraud would not get a lower sentence because of the loss of

professional stature. Why should a corporate officer — who abused his training and

status to commit serious crimes — be able to use those privileges to argue for a lower

sentence than someone not given the advantages related to an MBA from a top-rated

program? Such an outcome, far from achieving justice, reinforces the substantial

structural injustices at work in our society. United States v. Peppel, 707 F.3d 627, 636

(6th Cir. 2013) (explaining that a lesser sentence based on “humiliation before his

community, neighbors, and friends — would tend to support shorter sentences in


                                          47
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24        USDC Colorado   pg
                                     48 of 54




cases with defendants from privileged backgrounds, who might have more to lose

along those lines.”) (citation omitted); Morgan, 635 F.3d at 445 (describing Sixth

Circuit’s opinion related to lenient sentence for CPA in United States v. Musgrave,

761 F.3d 602, 604 (6th Cir. 2014) and noting that in reversing that sentence, “the

Sixth Circuit saw it for what it was, favoritism of the elite”).

      The Recommended Sentence reflects that fact that the Guidelines were

created, in part, to help address the concern that white-collar offenders received

special treatment and “frequently do not receive sentences that reflect the

seriousness of their offenses.” S. Rep. No. 98-225 (1983), reprinted in 1984

U.S.C.C.A.N. 3182, 3260. A sentence outside the Guidelines range would create

disparities with other types of offenders and would simply reinforce this perception

of special treatment, thus undermining deterrence and respect for the law. United

States v. Kuhlman, 711 F.3d 1321, 1329 (11th Cir. 2013) (“The Sentencing Guidelines

authorize no special sentencing discounts on account of economic or social status.”);

United States v. D’Amico, 496 F.3d 95, 107 (1st Cir. 2007) (explaining that lower

sentences for white collar criminals contradicts purpose of Guidelines), reversed on

other grounds, D’Amico v. United States, 522 U.S. 1173 (2008).

      D.     The Recommended Sentence would deter Michael Tew from
             committing other crimes while deterring other would-be
             fraudsters from tearing at the bonds of trust that are vital to our
             general prosperity

      Specific deterrence supports the Recommend Sentence. Everything known

about the crime, its circumstances, and the defendant’s characteristics suggest that

                                           48
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado      pg
                                     49 of 54




Michael Tew is the sort of person who makes criminal choices if he believes that he

will not get caught, or if he believes that he can find a technical “hack” that will let

him evade responsibility. The sentence in this case should do what appeals to his

conscience and the specter of being unavailable for his children apparently could not:

alter the defendant’s decision calculus so that the consequences, discounted by the

likelihood of getting caught, outweigh the perceived benefits. See Richard A. Posner,

Economic Analysis of the Law 256 (9th ed. 2014) (Attachment A).

      Research indicates that the Recommended Sentence is likely to have that

effect. United States Sentencing Commission, Length of Incarceration and Recidivism

at 4 (April 2020), available at https://www.ussc.gov/sites/default/files/pdf/research-

and-publications/research-publications/2020/20200429_Recidivism-SentLength.pdf

(last accessed March 13, 2024) (finding significant deterrent effect to sentences of

more than 60 months); See Loughran et al., Can Rational Choice Theory Be

Considered a General Theory of Crime? Evidence from Individual-Level Panel Data,

54 Criminology 86, 107 (2016) (finding that criminals “act in accordance with

anticipated rewards and costs of offending”) (Attachment 2).

      Anything less than the Recommended Sentence would also undermine general

deterrence. “Defendants in white collar crimes often calculate the financial gain and

risk of loss, and white collar crime can therefore be affected and reduced with serious

punishment.” United States v. Martin, 455 F.3d 1227, 1240 (11th Cir. 2006); United

States v. Sample, 901 F.3d 1196, 1200 (10th Cir. 2018) (citing cases and Congressional


                                          49
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado     pg
                                     50 of 54




findings supporting the deterrent effect of prison on white collar crime).

      Michael Tew calculated that stealing over $5 million was “worth it,” once he

discounted the likelihood he’d be caught. On one of the recordings with Yioulos, he

tried to reassure Yioulos that they wouldn’t be, explaining that he thought law

enforcement would have other priorities and that his substantial efforts to evade

detection would be effective. Anyone else with the same idea — other would-be

criminal millionaires weighing the possibly enormous gains of fraud against the likely

consequences, discounted by the likelihood of detection — should be able to look at

the sentence in this case and rationally conclude that the opportunity to make over

$5 million by lying is not worth it (further taking into account the remarkably

resilient ability of individuals to believe that they are above average and that they

can avoid the pitfalls that led others to be caught).

      The Court should also consider the possibility that the defendant is simply not

deterrable. In this case, the defendant kept committing fraud (1) after his

coconspirator continually reminded him of the high risks of getting caught, (2) he

found out that the FBI had contacted the Victim Company, and (3) in background

circumstances of substantial financial security that would leave almost anybody

content. Then, after being indicted and despite being aware that he faced years in

prison, the defendant’s internal decision calculus somehow computed that the gains

of applying for CJA counsel through the same judge who would eventually sentence

him outweighed the potential consequences. Thereafter, the defendant persisted


                                           50
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24        USDC Colorado      pg
                                    51 of 54




through to trial, betting that he could convince twelve jurors of non-culpability, even

in the face of overwhelming evidence and admonitions from the Court to the contrary.

If the defendant cannot be deterred from committing fraud in a situation almost

custom-built to do exactly that — supervision by federal pretrial services while

confronting the extremely high likelihood of a conviction and the resulting serious

sentence — it is difficult to imagine what could deter him from continued lying for

personal benefit. If the defendant cannot be deterred, only the Recommended

Sentence will be sufficient, but not greater than necessary, to protect the public from

further schemes. 18 U.S.C. § 3553(a)(2)C).

      This is all the more true when the defendant has extensive experience and

knowledge regarding some of the most effective means and methods for committing

financial crime. He knows how to create and use a shell corporation, how to

manipulate bank procedures to avoid anti-money laundering protocols, how to use

and maintain digital aliases. Beyond that financial acumen, he has emotional

intelligence, including the most effective ways to recruit and retain accomplices, how

to create other convincing fake documents, and how to use offshore cryptocurrency

platforms to hold on to any ill-gotten gains. The only way to ensure he is not tempted

to use this knowledge to immediately enrich himself again is a lengthy sentence of

imprisonment.

      E.     Only the Recommended Sentence would impose just
             punishment and instill respect for the law from a defendant who
             has treated it with contempt


                                          51
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24       USDC Colorado       pg
                                     52 of 54




       Imposing the Recommended Sentence would mean that the defendant receives

one year of prison for every $436,431 he stole. That’s one year of prison for taking

more than most people in the United States will earn in five years of following the

law. And that simple calculus does not include qualitative aspects of the crime, like

Michael Tew’s betrayal and manipulation of others. The Recommended Sentence,

given all of the circumstances, is just punishment that “reflects the gravity of the

offense” and “takes into account the cost of the defendant’s criminal conduct and the

cost society must undertake to punish that offense.” Simon v. United States, 361 F.

Supp. 2d 35, 44 (E.D.N.Y. 2005) (interpreting this § 3553(a) factor with support from

legislative history and circuit precedent).

       A little over eleven and a half years — the recommended sentence of 139

months — would also promote the respect for the law that Michael Tew disdained

throughout the conspiracy and during the pendency of his criminal prosecution.

III.   CONCLUSION

       Michael Tew’s 701-day crime spree was corrosive to the trust underpinning our

economy and society, as well as the principles of fairness embodied by our judicial

system. It is one thing to lie, cheat, and steal. It is quite another, even more serious

thing, to do all of that over and over again for two years in recursive and worsening




                                              52
Case No. 1:20-cr-00305-DDD     Document 458 filed 03/14/24        USDC Colorado      pg
                                    53 of 54




cycles. The defendant should receive a sentence that advances the purposes of

criminal sentencing set forth in § 3553(a). For all of the reasons set forth above, the

Recommended Sentence does so.

                                        Respectfully submitted,

                                        COLE FINEGAN
                                        United States Attorney

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Certification of Type-Volume Limitation

       Judge Domenico’s Practice Standard III(A)(1) does not impose a type-volume
limitation on sentencing statements.

                                                     /s Bryan Fields
                                                     Bryan David Fields

Statement of Speedy Trial Impact

      Pursuant to Judge Domenico’s Practice Standard III(C), the government notes
that this motion will not affect the speedy trial clock in this case because trial has
already occurred within the Speedy Trial Act deadline.




                                          53
Case No. 1:20-cr-00305-DDD      Document 458 filed 03/14/24        USDC Colorado          pg
                                     54 of 54




CERTIFICATE OF SERVICE

              I certify that on this 14th day of March, 2024 I electronically filed the
  foregoing with the Clerk of the Court using the CM/ECF system which will send
  notification of such filing to all counsel of record in this case


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